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                 4                                   UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                       ***
                 7      UNITED STATES OF AMERICA,                              Case No. 2:09-CR-262 JCM (GWF)
                 8                                             Plaintiff(s),                      ORDER
                 9             v.
               10       ADRIAN FUENTES-GARCIA, et al.,
               11                                           Defendant(s).
               12
               13              Presently before the court is the government’s unopposed motion for 32-day extension to
               14       respond to defendant’s 28 U.S.C. § 2255 motion. (Doc. # 346). The government requests up to
               15       and including December 22, 2014, to file a response.
               16              On September 30, 2014, the court granted the government’s motions waiving attorney-
               17       client privilege between defendant and his former counsel, Michael Pandullo, Esq. and requiring
               18       Pandullo to provide an affidavit addressing defendant’s allegations. (Doc. # 343). The court
               19       allowed the government 30 days to respond after Pandullo provided the affidavit. (Id.). On
               20       October 21, 2014, Pandullo timely provided the ordered affidavit, thus giving the government
               21       until November 20, 2014, to file its response.
               22              The government represents that, upon receiving Pandullo’s affidavit, it determined it
               23       needed to obtain transcripts of proceedings in the district court. The government asserts that it
               24       has ordered those transcripts but has not received them. Therefore, it needs additional time to
               25       prepare its response.
               26              In addition, the government represents that this request is not for the purposes of delay
               27       and that it anticipates the response will be filed within the additional time requested.
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                1            Good cause appearing to warrant an extension of time,
                2            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s
                3     unopposed motion for 32-day extension to respond to defendant’s 28 U.S.C. § 2255 motion (doc.
                4     # 346) be, and the same hereby is, GRANTED.
                5            IT IS THEREFORE ORDERED that the government shall have up to, and including,
                6     until December 22, 2014, to file a response.
                7            DATED November 20, 2014.
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                9                                                UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
